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                              No. 24-40792

       IN THE UNITED STATES COURT OF APPEALS
                FOR THE FIFTH CIRCUIT
            _____________________________________

                     TEXAS TOP COP SHOP, ET AL.,
                                             Plaintiffs-Appellants,

                                         v.

PAMELA BONDI, ATTORNEY GENERAL OF THE UNITED STATES,
                          ET AL.,
                                             Defendants.
              _____________________________________

  On Appeal from the United States District Court for the Eastern
    District of Texas No. 4:24-CV-478 (Hon. Amos L. Mazzant)
                 _____________________________________

   BRIEF AMICI CURIAE OF LIBERTY JUSTICE CENTER
             IN SUPPORT OF PLAINTIFFS
             _____________________________________

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               CERTIFICATE OF INTERESTED PERSONS


    The undersigned counsel of record for amicus curiae certifies that the

following listed persons and entities as described in the fourth sentence

of Fifth Circuit Rule 28.2.1, in addition to those listed in the Petitioner’s

Certificate of Interested Persons, have an interest in the outcome of this

case. These representations are made in order that the judges of this

Court may evaluate possible disqualification or recusal.



    Amicus Curiae: The Liberty Justice Center is a not-for-profit

corporation exempt from income tax under section 501(c)(3) of the

Internal Revenue Code, 26 U.S.C. § 501(c)(3). It does not have a parent

corporation and no publicly held company has a 10% or greater

ownership interest.                  Date: March 4, 2025

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                INTEREST OF THE AMICUS CURIAE


  The Liberty Justice Center is a nonprofit, nonpartisan public-interest

litigation center that seeks to protect economic liberty, private property

rights, free speech, and other fundamental rights. The Liberty Justice

Center pursues its goals through strategic, precedent-setting litigation to

revitalize constitutional restraints on government power and protections

for individual rights. See, e.g. Janus v. AFSCME, 138 S. Ct. 2448 (2018).

  This case interests amicus because constant vigilance is necessary to

protect individual liberties from the abuses of government overreach.

  The Liberty Justice Center files this brief pursuant to Rule 29(a) of the

Federal Rules of Appellate Procedure, and all parties to the appeal have

consented to the filing of this brief. No counsel for any party authored

any part of this brief, and no person or entity other than amicus funded

its preparation or submission.




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       INTRODUCTION AND SUMMARY OF THE ARGUMENT


  The Corporate Transparency Act (“CTA”) regulates noneconomic

activity. As the district court below explained, “[t]he fact that a company

is a company does not knight Congress with some supreme power to

regulate them in all aspects—especially through the CTA, which does not

facially regulate commerce.” Opinion below at *52, 4:24-CV-478 (ECF No.

33). Yet Defendants’ essential claim is that the very existence of a

commercial entity inherently brings it under the purview of the

Commerce Clause’s substantial effects doctrine. That argument falls

short because the Commerce Clause is a power to regulate commerce, and

as the Supreme Court has made clear, existence is not commerce. See

Nat'l Fed'n of Indep. Bus. v. Sebelius, 567 U.S. 519, 556-7 (2012).

  Nothing in the challenged portion of the CTA regulates production,

consumption, or distribution of any product or service. Although

reporting companies might be commercial enterprises, their very

existence is not itself a commercial activity subject to regulation under

the Commerce Clause.




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  Plaintiffs successfully demonstrated that the CTA is not a valid

exercise of Congress’s Commerce Clause power, and this Court should

therefore affirm the district court and hold the CTA unconstitutional.

                                  ARGUMENT

    I.     The Commerce Clause does not empower Congress to
           pass the CTA, which regulates entirely noneconomic
           activity.

  The Commerce Clause grants Congress the power to “regulate

Commerce with foreign Nations, and among the several States.” U.S.

Const. Art. I, § 8, Cl. 3. Courts have interpreted this clause to find that

Congress may regulate within three areas : (1) the use of the channels of

interstate commerce; (2) the instrumentalities of interstate commerce, or

persons or things in interstate commerce; and (3) activities which

substantially affect interstate commerce. Gonzales v. Raich, 545 U.S. 1,

16 (2005); United States v. Morrison, 529 U.S. 598 (2000); Perez v. United

States, 402 U.S. 146, 150 (1971); NLRB v. Jones & Laughlin Steel Corp.,

301 U.S. 1, 37 (1937).

  The CTA requires a “reporting company” to submit to the Financial

Crimes Enforcement Network (“FinCEN”) a report that “indentif[ies]

each beneficial owner of . . . the reporting company . . . by full legal name,


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date of birth, current . . . residential or business street address, and [a]

unique identifying number from an acceptable identification document or

FinCEN identifier.” 31 U.S.C. § 5336(b)(2). The CTA is therefore not a

regulation of the use of the channels of interstate commerce—i.e., a

regulation of the pathways through which interstate commerce occurs,

such as highways, railways, airways, and waterways. See United States

v. Lopez, 514 U.S. 549, 558-599 (1995); Gonzales, at 16.

  The CTA is also not a regulation of the instrumentalities of interstate

commerce, or persons or things in interstate commerce—i.e., of the

entities and objects that are directly involved in or facilitate interstate

commerce. Such instrumentalities, persons, and things include, but are

not limited to, vehicles, machinery, and infrastructure used for

transportation, as well as the goods and people that move across state

lines. Gonzales, at 16. Although the CTA disclosure requirements will

apply to reporting companies that are in the business of facilitating

interstate commerce, many of the companies covered by the CTA will

have nothing to do with the instrumentalities of interstate commerce.

  The CTA also does not fall under the last area of regulation allowed by

the Commerce Clause: activities which substantially effect interstate


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commerce. The Supreme Court has held that, under the Commerce

Clause, Congress “has the power to regulate activities that substantially

affect interstate commerce.” Id. When the substantial effects doctrine is

used to uphold “federal regulation of intrastate activity based upon the

activity’s substantial effects on interstate commerce, the activity in

questions has been some sort of economic endeavor.” Morrison, at 611.

  The Supreme Court has repeatedly highlighted that the economic

nature of a regulated activity plays a crucial role in Commerce Clause

analysis. See Gonzales, at 610-11; Lopez, at 561.“Economics,” as the

Supreme Court explains, refers generally to “the production, distribution,

and consumption of commodities.” Gonzales, at 25 (quoting Webster's

Third New International Dictionary 720 (1966)). Whether an activity is

economic hinges on whether it “arise[s] out of or [is] connected with a

commercial transaction.” Lopez, at 561. The delineation between

economic and non-economic activity can be seen in Lopez, Gonzales, and

Morrison.

  Lopez stated that “[t]he Court has never declared that Congress may

use a relatively trivial impact on commerce as an excuse for broad

general regulation of state or private activities.” Lopez, at 557. The


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statute which criminalized certain types of firearm possession had

“nothing to do with ‘commerce’ or any sort of economic enterprise,

however broadly one might define those terms.” Id. at 561. The

regulation in question was “not an essential part of a larger regulation of

economic activity, in which the regulatory scheme could be undercut

unless the intrastate activity were regulated. It [could not], therefore, be

sustained under [the Court’s] cases upholding regulations of activities

that arise out of or are connected with a commercial transaction, which

viewed in the aggregate, substantially affects interstate commerce.” Id.

  In contrast, in Gonzales, the Court found that federal regulation of

cannabis did fall under the Commerce Clause’s grant of power because

the purpose of the statute was “to control the supply and demand of

controlled substances in both lawful and unlawful drug markets.”

Gonzales, at 19. The Court found that “production of the commodity

meant for home consumption, be it wheat or marijuana, has a substantial

effect on supply and demand in the national market for that commodity.”

  Or as the court put it in Morrison “those cases where we have

sustained federal regulation of intrastate activity based upon the

activity's substantial effects on interstate commerce, the activity in


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question has been some sort of economic endeavor.” Morrison, at 611

(emphasis added). Taken together, these cases demonstrate that, under

the Supreme Court’s Commerce Clause doctrine, whether federal

government can regulate under the substantial effects doctrine rests on

whether the regulation ultimately affects some sort of transaction or

production of goods, as in an actual activity of economic production.

   The disclosure provision of the CTA plainly does not regulate economic

activity. The CTA requires a “reporting company” to submit to FinCEN a

report that “indentif[ies] each beneficial owner of . . . the reporting

company . . . by full legal name, date of birth, current . . . residential or

business street address, and [a] unique identifying number from an

acceptable identification document or FinCEN identifier.” 31 U.S.C. §

5336(b)(2). A beneficial owner is an individual who “(i) exercises

substantial control over the entity; or (ii) owns or controls not less than

25 percent of the ownership interests of the entity.” 31 U.S.C.

5336(a)(3)(A); See 31 U.S.C. 5336(a)(3)(B) (establishing certain

exceptions). A “reporting company” is defined to include any “corporation,

limited liability company, or other similar entity” that is created (or, in

the case of a foreign entity, registered to do business) “by the filing of a


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document with a secretary of state or a similar office under the law of a

State or Indian Tribe.” 31 U.S.C. 5336(a)(11)(A).

  The rule provides that entities created or registered before 2024 must

comply by January 1, 2025; entities created or registered during 2024

must comply within 90 days after formation or registration; and entities

created or registered after 2024 must comply within 30 days after

formation or registration. See 31 C.F.R. 1010.380(a)(1).

  These impositions cannot be sustained under the Commerce Clause

because, rather than focusing on economic activity or its effects, this

statute simply compels disclosure of information, which is not an

economic activity, and regardless of whether an entity engages in

economic activity. The mere existence and ownership of a company is not

an economic endeavor in and of itself. No money or goods exchange hands

and no transaction is made. Rather, the federal government wants to

collect this information for other policy purposes.

  The CTA forms part of the Anti-Money Laundering Act (“AMLA”), a

statute that (as its name suggests) establishes a regulatory framework

for countering money laundering. The CTA’s reporting requirements

allegedly facilitate Congress’s broader efforts to counter money


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laundering by enabling investigators to trace the flow of illicit funds and

by discouraging the use of shell corporations to conceal transactions. See

AMLA § 6002(5), 134 Stat. 4547. The CTA’s “formal findings” assert that

“malign actors seek to conceal their ownership” of corporations and

similar entities; that “money launderers and others involved in

commercial activity intentionally conduct transactions through corporate

structures in order to evade detection”; and that “legislation providing for

the collection of beneficial ownership information…is needed to…protect

interstate and foreign commerce.” CTA § 6402(3)-(5), 134 Stat. 4604. It is

unclear, however, how the disclosure requirement is “essential” to this

scheme of regulation, nor how the disclosure requirement’s overturning

would undercut the larger regulatory scheme.

  The disclosure requirement itself is not essential—or even all that

related—to stopping the flow of illicit funds. Disclosure of such

information as, “date of birth, current . . . residential or business street

address, and a unique identifying number from an acceptable

identification document or FinCEN identifier” is far more expansive than

necessary to cut off illegal transactions. The majority of such information

is publicly available, or obtainable from a warrant. It is unclear how


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proactively obtaining this information would assist investigators in

preventing money laundering. And overturning the disclosure

requirement would not undercut the larger regulatory scheme because,

again, the information investigators need to stop money laundering and

the flow of illicit funds is available through other means readily

accessible to the government.

  The CTA does not regulate economic activity, is not essential to the

scheme of regulation, and would not undercut the larger regulatory

scheme if it was overturned. the CTA cannot be justified under the

Commerce Clause.

                                CONCLUSION


  For the foregoing reasons, this Court should find in favor of Plaintiffs.

    Respectfully submitted,                  March 04, 2025

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                  CERTIFIFCATE OF COMPLIANCE

 1. This brief complies with the type-volume limitation of Federal

    Rules of Appellate Procedure 29(a)(5) and 32(a)(7) because the brief

    contains 1,786 words, excluding the parts of the brief exempt by

    Federal Rule of Appellate Procedure 32(f).

 2. This brief complies with the typeface requirements of Federal Rule

    of Appellate Procedure 32(a)(5) and the type-style requirements of

    Federal Rule of Appellate Procedure 32(a)(6) because it has been

    prepared in a proportionally spaced typeface using Microsoft Word

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/s/Reilly Stephens
Attorney for amicus curiae Liberty Justice Center

Date: March 04, 2024




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                       CERTIFICATE OF SERVICE

  I hereby certify that I electronically filed the foregoing with the Clerk

of the Court for the United States Court of Appeals for the Fifth Circuit

by using the appellate CM/ECF system on December 18, 2024.

 /s/Reilly Stephens
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 Date: March 4, 2025




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